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13
                                  UNITED STATES DISTRICT COURT
14
                                 NORTHERN DISTRICT OF CALIFORNIA
15
                                     SAN FRANCISCO DIVISION
16

17   IN RE OPENAI CHATGPT LITIGATION                Master File Case No. 3:23-CV-03223-AMO

18   This document relates to:                      JOINT REQUEST FOR CASE
                                                    MANAGEMENT CONFERENCE
19
     Case No. 3:23-cv-03223-AMO                     Judge:     Hon. Araceli Martínez-Olguín
20   Case No. 3:23-cv-03416-AMO
     Case No. 3:23-cv-04625-AMO                     Magistrate Judge: Hon. Robert M. Illman
21
                                                    Date Filed: June 28, 2023
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                          JOINT REQUEST FOR CASE MANAGEMENT CONFERENCE
                                  Master File Case No. 3:23-CV-03223-AMO
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 1             Pursuant to Federal Rule of Civil Procedure 16 and N.D. Cal. Civil Local Rule 16-10(c),

 2   the Parties jointly request that the Court schedule a case management conference on November 7,

 3   2024, or as soon thereafter as the Court may be available. The Parties request this CMC to discuss

 4   the case schedule, the status of discovery and deposition coordination, and to apprise the Court of

 5   developments in this action (“N.D. Cal. Action”) and in substantially similar actions proceeding

 6   in the United States District Court for the Southern District of New York (“S.D.N.Y. Actions”). 1

 7             Deposition Coordination. On May 24, 2024, Judge Illman granted Defendants’ request

 8   to stay depositions for 30 days to allow the Parties to “meet and confer further such as to explore

 9   every avenue through which the discovery process (and depositions in particular) in these cases

10   may be streamlined and made efficient.” ECF No. 144 at 3. Consistent with Judge Illman’s Order,

11   for the past several months, the Parties in the N.D. Cal. and S.D.N.Y. Actions have engaged in

12   extensive meet-and-confer efforts regarding deposition coordination. Another meet and confer is

13   scheduled for this Friday, October 25, to attempt to narrow the Parties’ remaining disputes.

14   However, to date, the Parties have been unable to reach agreement on a protocol for coordinating

15   depositions. Accordingly, the S.D.N.Y. Class Plaintiffs, with consultation from Plaintiffs in this

16   N.D. Cal. Action, filed a written request for entry of a deposition protocol to govern deposition

17   coordination across the N.D. Cal. and S.D.N.Y. Class Actions (but not the S.D.N.Y. Newspaper

18   Actions). Defendants filed a competing written request for entry of a deposition protocol that

19   would provide for deposition coordination across the N.D. Cal. and S.D.N.Y. Actions, including

20   the S.D.N.Y. and N.D. Cal. Class Cases and the S.D.N.Y. Newspaper Actions. 2

21             The court in the S.D.N.Y. Actions has set an Omnibus In-Person Status Conference for

22   October 30, 2024. See, e.g., Authors Guild Action (Case No. 23-CV-08292-SHS-OTW), ECF No.

23
     1
       The class cases pending in the Southern District of New York include Authors Guild, et al., v.
24   OpenAI, Inc., et al., No. 23-CV-8292 (S.D.N.Y.); Alter, et al., v. OpenAI, Inc., et al., No. 23-CV-
     10211 (S.D.N.Y.); and Basbanes, et al., v. Microsoft Corp., et al., No. 24-CV-84 (S.D.N.Y.). In
25   addition, individual newspaper plaintiffs have filed cases bringing similar claims in the Southern
     District of New York. E.g., N.Y. Times Co. v. Microsoft Corp., et al., No. 23-CV-11195
26   (S.D.N.Y.); Daily News, LP v. Microsoft Corp., et al., No. 24-cv-3285 (S.D.N.Y.); The Center for
     Investigative Reporting v. OpenAI, Inc., et al., No. 24-cv-04872 (S.D.N.Y.) (the “Newspaper
27   Actions”).
     2
28    The S.D.N.Y. Class Plaintiffs’ and Defendants’ moving papers, including their competing
     deposition coordination proposals, are attached hereto as Exhibits 1 & 2, respectively.
                                                       1
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 1   202 (“October 30 Status Conference”). The Parties expect the October 30 Status Conference will

 2   cover, among other things, the Parties’ competing deposition protocols, and a potential extension

 3   of the case schedule in the S.D.N.Y. Actions to allow sufficient time for the depositions to

 4   proceed before the close of fact discovery.3

 5             Modification of the Existing Schedule. Here, in the N.D. Cal. Action, the Court set a

 6   fact-discovery cutoff of January 27, 2024. ECF No. 173. The Parties agree that an extension of

 7   the case schedule will be necessary in this case to allow sufficient time to conduct deposition

 8   discovery in a manner consistent with Judge Illman’s Order directing the parties to “streamlin[e]

 9   discovery coordination and deposition procedures across the OpenAI cases[.]” ECF No. 144.

10   Following the October 30 Status Conference in the S.D.N.Y. Actions, the Parties in this Action

11   expect to be in a position to provide the Court with additional updates regarding deposition

12   coordination across the OpenAI cases in N.D. Cal. and S.D.N.Y. and any extension of the case

13   schedule in the S.D.N.Y. Actions. The Parties expect they will propose to this Court an extension

14   comparable to any extension entered in S.D.N.Y, to enable full and effective coordination

15   between the cases and completion of discovery in this matter.

16                                                   ****

17             Accordingly, the Parties respectfully request that the Court set a case management

18   conference for November 7, 2024, or as soon thereafter as the Court may be available.

19

20   Dated: October 25, 2024                                  KEKER, VAN NEST & PETERS LLP
21

22                                                     By:    /s/ Nicholas S. Goldberg
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23
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24                                                            OPENAI, L.P., OPENAI OPCO, L.L.C.,
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                                                              FUND I, L.P., and OPENAI STARTUP
26                                                            FUND MANAGEMENT, L.L.C.

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28    The court in the S.D.N.Y. Actions set an “interim” fact discovery cutoff of December 20, 2024.
     See Authors Guild Action (Case No. 23-CV-08292-SHS-OTW), ECF No. 202 at 3.
                                                       2
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 1   Dated: October 25, 2024                          JOSEPH SAVERI LAW FIRM, LLP

 2

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 1
                                      SIGNATURE ATTESTATION
 2
               Pursuant to Local Rule 5–1(i)(3), I attest under penalty of perjury that concurrence in
 3
      the filing of this document has been obtained from the other signatories to this stipulation.
 4

 5     Dated: October 25, 2024                             By:   /s/ Nicholas S. Goldberg

 6                                                               NICHOLAS S. GOLDBERG

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